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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Peter Campopiano, am a Special Agent with the United States Capitol Police (“USCP”),

Criminal Investigations Section, Washington, D.C. (hereinafter “Affiant”), being duly sworn,

deposes and states as follows:

                                      INTRODUCTION

       1.      I am a Special Agent (“SA”) with the United States Capitol Police (“USCP”). I have

been employed by the United States Capitol Police since 2009. I am currently assigned as a Special

Agent in the Criminal Investigations Section where I investigate a multitude of violations of the

law.

       2.      I attended the Criminal Investigations Training Program in 2021 and Uniformed

Police Training Program in 2009 at the Federal Law Enforcement Training Center in Brunswick,

Georgia and Cheltenham, Maryland respectively for a combined period of nine months. I received

extensive and formal on-the-job training in the provisions of Codes of the United States and

District of Columbia. As such, I am an “investigative or law enforcement officer” of the United

States within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of

the United States who is empowered by law to conduct investigations of, and to make arrests for,

offenses enumerated in Section 2516 of Title 18, United States Code. My experience as an SA has

include the investigations of cases involving the unlawful use and possession of firearms, acts of

violence, public disturbance, damage or injury of property and the use of computers and the

internet to commit offences.

       3.      On the basis of interviews with witnesses and multiple members of law

enforcement who were involved in this investigation, including other USCP officers, and officers

for the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), my firsthand knowledge



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investigating this incident, and other information which I have reviewed and determined to be

reliable, I allege that the following facts show there is probable cause to believe that Ryan Michael

“Reily” English (hereinafter “ENGLISH”) violated Title 26 United States Code § 5861 (Unlawful

Receipt, Possession, and/or Transfer of a Firearm), and Title 40 United States Code § 5104

(Carrying a Firearm, Dangerous Weapon, Explosive, or Incendiary Device on the Grounds of the

Capitol).

       4.      This affidavit is based upon information witnessed by me or provided to me by

other law enforcement officers/agent and witnesses, all of whom I believe to be credible. Because

this affidavit is being submitted for the limited purpose of showing probable cause for the arrest

of ENGLISH, I have not included each and every fact known to me concerning this investigation.

I have set forth only the facts which I believe are necessary to establish probable cause.

                                      PROBABLE CAUSE

       5.      On Monday, January 27, 2025, at approximately 3:12PM, at 1 First Street NW, near

the South Door of the US Capitol Building, the Subject, identified as Ryan Michael “Reily”

English (“ENGLISH”) approached a Capitol Police Officer (hereinafter “CPO-1”) and stated “I’d

like to turn myself in.” ENGLISH further stated that ENGLISH was in possession of multiple

knives and what ENGLISH referred to as two “Molotov Cocktails.”

       6.      Based on my training and experience, I understand that “Molotov cocktail” is the

common term for what is a destructive device or incendiary bomb.

       7.      ENGLISH was detained and searched by CPO-1 and another Capitol Police Officer

(CPO-2). The search of ENGLISH uncovered a folding knife in ENGLISH’s front right pants’

pocket, as well as two destructive devices from the inside pockets of ENGLISH’s jacket. The

destructive devices were constructed of 50 milliliter bottles of Absolut brand vodka with a grey



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cloth affixed to its top. A green BIC brand lighter was also recovered from ENGLISH’s pants’

pocket.

          8.    Your affiant is aware a Molotov Cocktail of this type is considered a “firearm”

under Title 26 United States Code § 5861 (Unlawful Receipt, Possession, and/or Transfer of a

Firearm).

          9.    While being searched, ENGLISH asserted that the bottles contained vodka, and that

the grey cloth was soaked in hand sanitizer. ENGLISH continued to assert that ENGLISH was

here to “Kill Scott Bessent” and that ENGLISH had additional “Molotov Cocktails” in

ENGLISH’s vehicle.

          10.   Your affiant is aware that Scott Bessent was confirmed on January 27, 2025 as the

United States Secretary of the Treasury.

          11.   ENGLISH’s car was located in the 900 Block of Independence Ave SW. Law

enforcement officers searched ENGLISH’s car for additional destructive devices. The search

uncovered a 750 milliliter bottle of Smirnoff 100 proof vodka and a grey sweatshirt with cloth cut

from the sleeves. The cloth of this sweatshirt was consistent with the cloth affixed to the destructive

devices.

          12.   During a search of ENGLISH’s person prior to transport, law enforcement officers

recovered a receipt in ENGLISH’s back left pants’ pocket. On the back of the receipt was written:

“Judith dear god I am so sorry. You must understand I can feel myself dying slowly b/c of my

heart. This is terrible but I cant do nothing while nazis kill my sisters. I love you. This is awful. Im

so sorry. I love u. Please stay alive and heal. you can. you are strong enough. Fuck them for pushing

us so far. you dont deserve this. Im so sorry for lying and plotting and lying. Please survive [7

hearts]”.



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        13.     At 06:28 PM, I advised ENGLISH of ENGLISH’s Miranda rights. ENGLISH

waived ENGLISH’s Miranda rights and agreed to answer questions.

        14.     With respect to the ENGLISH’s arrest on January 27, 2025, ENGLISH admitted to

leaving ENGLISH’s phone at home for surveillance purposes. ENGLISH left ENGLISH’s home

in Massachusetts on Sunday, January 26, 2025, again leaving ENGLISH’s phone behind for

surveillance purposes, and traveled to the District of Columbia with the intention of killing what

ENGLISH referred to as “Nazi” Secretary of Defense, Peter Hegseth, and/or the Speaker of the

House, Mike Johnson, and/or burning down the Heritage Foundation, “two blocks from the White

House.” These actions were specifically to “depose” these political offices and send a message.

ENGLISH admitted to buying an atlas a month ago to navigate ENGLISH’s way to the District of

Columbia, given ENGLISH would not have a phone with GPS capability. ENGLISH further

admitted that ENGLISH wore clothes to conceal ENGLISH’s appearance when purchasing the

atlas and paid cash for the atlas.

        15.     On ENGLISH’s way to Washington, D.C., ENGLISH stopped at a library in Chevy

Chase, Maryland, observed Reddit posts mentioning the confirmation hearings of the Secretary of

the Treasury, Scott Bessent, and altered ENGLISH’s target. ENGLISH confirmed that ENGLISH

purchased the alcohol bottles for the intended purpose of constructing a destructive device.

Originally, ENGLISH’s thoughts were to use the small bottles of vodka to start fires and later to

wrap them in rags soaked in alcohol, light them and throw them at Bessent’s feet.

        16.     ENGLISH knew the destructive device was illegal and that ENGLISH did not have

a tax stamp from the ATF. Your affiant is aware a Molotov Cocktail is legal in some instances if it

is registered with the ATF.




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       17.     ENGLISH explained, in the event ENGLISH was able to get close enough to

Bessent, ENGLISH would have stabbed him with the knife that ENGLISH brought from home.

       18.     After conducting surveillance of U.S. Capitol Grounds, ENGLISH surmised that

ENGLISH would have to kill, at least, three U.S. Capitol Police Officers to get to Bessent and kill

him. ENGLISH recognized that ENGLISH’s actions were likely to put ENGLISH in grave danger

and expressed acceptance and content with the possibility of suicide by cop.

       19.     Your affiant consulted with an ATF Special Agent (hereinafter, “ATF-1”), who was

with your affiant during the investigation. ATF-1 explained that the materials recovered in this

investigation are consistent with that of a firearm, namely the Molotov cocktail. Further in ATF-

1’s training and experience, pending laboratory analysis and formal determination, the materials

recovered in this investigation are suspected to be at least one destructive device. More specifically,

the materials may be classified as an Improvised Incendiary Weapon or Incendiary Bomb.

Additionally, ATF conducted a preliminary query of the National Firearms Registration and

Transfer Record (NFTR), and confirmed that ENGLISH was not found to registered such a device.

                                          CONCLUSION

       Your affiant alleges the aforementioned facts show that there is probable cause to believe

that ENGLISH violated Title 26, United States Code § 5861 (Unlawful Receipt, Possession, and/or

Transfer of a Firearm), and Title 40 United States Code § 5104 (Carrying a Firearm, Dangerous

Weapon, Explosive, or Incendiary Device on the Grounds of the Capitol).




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I declare under penalty of perjury that the foregoing is true and correct.




                                                              Special Agent Peter Campopiano
                                                              U.S. Capitol Police

Sworn and subscribed to me by telephone on this 28th day of January 2025.


Honorable Matthew J. Sharbaugh
United States Magistrate Judge




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